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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY
                                      TRENTON DIVISION

THE INDEPENDENCE PROJECT,INC.,
a New Jersey Non Profit Corporation, and
RONALD MOORE,Individually,

               Plaintiffs,

v~~                                                          Case No. 3:17-cv-00718-FLW-LHG

DONG WHA CORPORATION,a New Jersey
Corporation,

               Defendant.


                                  NOTICE OF SETTLEMENT

       COMES NOW the Plaintiffs, The Independence Project, Inc., a New Jersey Non-Profit

Corporation, and Ronald Moore, Individually, by and through their undersigned counsel, and

informs the Court that the matter has been amicably settled between the Parties, subject to the final

execution ofthe settlement documents, and hereby requests:

       1.      The Plaintiffs requests that pursuant to a Court Order, that the case be dismissed

subject to the right of any party to move the Court within sixty (60) days for the purpose of

entering a Joint Stipulation for Dismissal With Prejudice, or, on good cause shown, to re-open the

case for further proceedings.
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                                                        The Independence Project, Inc., et al.
                                                                   v. Dons Wha Corporation
                                                        Case No.: 3:17-cv-00718-FLW-LHG



                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 22"d day of January,2018, a true and correct copy of

the foregoing was sent via e-mail to counsel for the Defendant, Michael L. Pescatore, Esq.,

mpescatore(~rmsmlaw.com, Rothstein, Mandel, Strohm, Halm and Kurs, 150 Airport Road, Suite

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